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11 Attorneys for Defendants

12                                  UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA
14                                       SAN FRANCISCO DIVISION
15
     NATIONAL TPS ALLIANCE, et al.,
16                                                   Case No. 3:25-cv-1766
                            Plaintiff,
17          v.
     KRISTI NOEM, in her official capacity as        NOTICE OF SUBMISSION OF
18   Secretary of Homeland Security, et al.,         ADMINISTRATIVE RECORD
19                                                   HAITI PARTIAL VACATUR
                              Defendants.
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27
     NOTICE OF SUBMISSION OF ADMINISTRATIVE RECORD
28 HAITI PARTIAL VACATUR
     No. 3:25-cv-1766-EMC
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 1                     NOTICE OF SUMBISSION OF ADMINISTRATIVE RECORD

 2          PLEASE TAKE NOTICE THAT pursuant to this Court’s April 8, 2025 Order, ECF No. 106,

 3 Defendants, through undersigned counsel, hereby submit this certified copy of the Administrative Record

 4
     pertaining to Secretary of Homeland Security’s decision to partially vacate the 2024 Extension of
 5
     Temporary Protective Status for Haiti, dated February 24, 2025. The filing of this Administrative Record
 6
     is not a concession that Secretary Noem’s decision is subject to judicial review.
 7
            This certified record has been filed in .pdf format that complies with the uploading requirements
 8

 9 of this Court’s Electronic Court Filing system.

10

11 Dated: April 15, 2025                                  Respectfully submitted,
12
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28   HAITI PARTIAL VACATUR
     No. 3:25-cv-1766-EMC
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